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 After a Century, Upsala Will Close Without
 Cash Rescue
 By Iver Peterson
 March 3, 1995




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 Barring a last-minute infusion of cash, Upsala College will close after 102 years of
 operation on May 31, bringing down the curtain on a college that began life as a
 school for Swedish immigrants and became an urban campus with large numbers
 of black and Hispanic students.

 The college is $12.5 million in debt, and a series of financial close calls over the last
 year has cut its enrollment by two-thirds. As the decision of the trustees to close
 the school was announced this afternoon, students and faculty members alike said
 that the alumni and the state had not supported Upsala because its enrollment was
 so heavily minority, about 60 percent black and Hispanic.

 "Is It Too Dark in Here?" a hand-lettered sign said accusingly from its perch, in the
 administration building's conference room, next to an oil portrait of Peter
 Froeberg, a Lutheran minister who headed Upsala in the 1920's, when most of its
 students attended because of its association with the Evangelical Lutheran Church
 in America. Over the last 20 years, the Upsala mission has been an experiment in
 urban education as it worked to recruit minority students and those who were not
 fully prepared for college.

 A promise of several millions in aid from a Korean industrialist has not come
 through, blocked by what the college administration said was a Korean
 Government ban on the export of funds to nonprofit institutions. The benefactor, In
 Tae Kim, heir to a South Korean construction and retail fortune, was elected to the
 board of trustees and was in Korea today, seeking to have the ban lifted.

 Paul V. DeLomba, the Upsala president, released a statement at 3 P.M. saying that
 at least 20 of the 29 trustees voted for closing the college in ballots returned by
 mail.

 About 50 students briefly tied up traffic in a noisy demonstration against the
 decision to close, which was held on Springdale Avenue outside the campus
 entrance. They shouted, "Hell no, we won't go," at police officers who came to clear
 the road. The police arrested five students and a faculty member, Joseph Cataliotti,
 who is a psychology professor and a member of the faculty liaison committee with
 the administration. All were soon released.
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 Mr. DeLomba emphasized that the college, which began in 1893 in Brooklyn, still
 held out hope for a miracle. "Should Mr. In Tae Kim, the South Korean industrialist
 and prospective benefactor of the college, or any other possible benefactor emerge
 with the financial resources that would obviate the need to close the college, the
 trustees remain open to the consideration of such a proposal or proposals," he said
 in a statement. But each day that passes without a savior will make it harder to
 rescue the college, he said.

 "I feel they haven't been straight with us," said Wendy Roano, a junior from
 Bridgeton, N.J. "If they had come right out and told us the problems and given us
 the information and the help we need to transfer, that would be one thing. But they
 kept everything from us until the end came."

 The immediate problem facing Upsala (pronounced UP-suh-luh) is a threat from
 the Middle States Association of Colleges and Schools to withdraw its accreditation
 on May 31 because of its financial woes. Besides being $12.5 million in debt, the
 college has cut faculty salaries by 40 percent -- a full professor now makes less
 than $30,000 a year -- and it has not had the money to pay its insurance premiums.

 Today, after the demonstration broke up and students huddled to consider a future,
 many spoke lovingly of a campus that had offered them something they could find
 nowhere else.

 "When you've spent four years here, especially having had the opportunity to be a
 tutor, I feel that this place has a thing that it exclusively it's own," said Aaron
 Brown, a senior. "I have a friend Muyeve from Namibia, and Dennis from Russia,
 and Yoshido from Japan, and Andre from Indonesia, and I know for a fact that
 there is not another small college where you could come in contact with that range
 of people."

 Upsala came close to the brink of closing last July, when it was first put on
 probation by the accreditation association, but the trustees decided at that time to
 keep the college open. Enrollment fell from about 1,000 then to today's level of 460
 as news of the college's struggle spread, and many of those who returned in the fall
 were poorer and less well prepared than those who transferred elsewhere.
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 Many faculty members saw neglect and worse in the fate of their college, which
 once had 1,600 students enrolled.

 "Here we have the wealthiest country in the world and we have to look for a savior
 from outside the country to help us," said John Kaltner, a professor of religion.
 "There are people in this state who know how little it would take to keep this place
 going, and it is hard for me not to look at that fact and see some racism or at least
 some class discrimination in the situation we're in."

 A version of this article appears in print on , Section B, Page 4 of the National edition with the headline: After a Century, Upsala Will
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